Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34           Desc
                                 Main Document    Page 1 of 29


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 4 1901 Avenue of the Stars, Suite 450
   Los Angeles, California 90067-6006
 5 Telephone: (310) 277-0077
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 6
   Proposed Attorneys for Jinzheng Group (USA)
 7 LLC
 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                       LOS ANGELES DIVISION
11
12 In re                                                 Case No. 2:21-bk-16674-ER
13 JINZHENG GROUP (USA) LLC,                             Chapter 11
14                     Debtor and Debtor in              DEBTOR’S NOTICE OF APPLICATION
                       Possession.                       AND APPLICATION TO EMPLOY
15                                                       ATKINSON, ANDELSON, LOYA, RUUD
                                                         & ROMO AS SPECIAL LITIGATION
16                                                       COUNSEL; MOTION TO APPROVE
                                                         DEBTOR-IN-POSSESSION FINANCING;
17                                                       AND STATEMENT OF
                                                         DISINTERESTEDNESS
18
                                                         Date:   July 6, 2022
19                                                       Time:   10:00 a.m.
                                                         Crtrm.: Courtroom 1568
20                                                               255 E. Temple Street
                                                                 Los Angeles, California 90012
21
22             TO THE HONORABLE ERNEST M. ROBLES, UNITED STATES BANKRUPTCY

23 JUDGE, AND INTERESTED PARTIES:
24             PLEASE TAKE NOTICE that Jinzheng Group (USA) LLC (the “Debtor”), hereby (1)

25 applies for entry of an order under 11 U.S.C. § 327(a) authorizing the Debtor to employ Atkinson,
26 Andelson, Loya, Ruud & Romo (“Atkinson” or “the Firm”) as special litigation counsel, effective
27 as of June 14, 2022, and (2) moves for an order authorizing the Debtor to obtain an unsecured loan
28   1685041.1 27086                                 1
Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                Desc
                                 Main Document    Page 2 of 29



 1 from the Debtor’s principal in the amount of the $80,000 loan to be paid to Atkinson as a
 2 postpetition retainer (“Retainer”), which loan shall be repaid as a chapter 11 expense of

 3 administration which will be subordinated to other allowed chapter 11 expenses of administration
 4 (the “Motion”).
 5             To summarize, this motion seeks the following relief:
 6                                                       I.
 7                                  APPLICATION FOR EMPLOYMENT
 8             In compliance with Local Bankruptcy Rule (“LBR”) 2014-1(b)(3), the Debtor hereby
 9 provides the following information regarding the application for employment:
10 A.          Identity of professional and the purpose and scope for which it is being employed

11             The Debtor seeks to employ Atkinson, Andelson, Loya, Ruud & Romo (“Atkinson” or “the
12 Firm”) as its special litigation counsel. Bios for the Atkinson attorneys who will be working on
13 this case are attached as Exhibit “1”, in addition to the resume for Atkinson’s lead attorney, Damian
14 J. Martinez.
15 B.          Whether professional seeks compensation pursuant to 11 U.S.C. § 328 or 11 U.S.C. § 330
16             The Debtor seeks to employ Atkinson pursuant to 11 U.S.C. § 327. Atkinson will seek
17 approval of its compensation and reimbursement of its expenses pursuant to 11 U.S.C. §§ 330 and
18 331.
19 C.          Arrangements for Compensation
20             Atkinson will charge for its services at an hourly rate measured in increments of tenths of
21 an hour. It will also seek reimbursement of its expenses. The rates for the primary attorneys for
22 this matter will be as follows: $500/hour for Damian J. Martinez, $430/hour for Michael Mauceri,
23 and $365/hour for Ivy Gao.
24             The Firm has or will received a retainer of $80,000 as an advance against fees and costs to
25 be incurred by the Firm in the course of their representation of the Debtor (the “Retainer”). The
26 Retainer is being provided as a loan to the Debtor from Zhao Pu Yang, as legal representative of
27 Jianqing Yang, the managing member of the Debtor (collectively, the “Principal”). The terms of
28   1685041.1 27086                                     2
Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34              Desc
                                 Main Document    Page 3 of 29



 1 such loan are discussed below in the section addressing the Debtor’s request for approval of debtor
 2 in possession financing. The Debtor proposes to compensate Atkinson on the following basis,

 3 except as the Court may otherwise determine and direct, after appropriate notice and hearing:
 4             First, with respect to the Retainer, Atkinson will draw down on the Retainer in accordance
 5 with the Guide to Applications for Retainers, and Professionals and Insider Compensation (“Fee
 6 Guide”), promulgated by the Office of the United States Trustee, except that the Retainer will be
 7 maintained in the Firm’s attorney-client trust account rather than a segregated trust account.
 8 Atkinson will submit a monthly Professional Fee Statement each month until the Retainer is
 9 exhausted.
10             Second, Atkinson will apply to the Court under §§ 330 and 331 of the Bankruptcy Code for

11 an allowance of fees and reimbursable expenses not more often than every 120 days. All
12 applications of Atkinson for compensation will be heard upon notice to creditors and other parties-
13 in-interest. Atkinson will accept such fees and reimbursement for expenses as may be awarded by
14 the Court. Atkinson expects that its compensation will be based upon a combination of factors
15 including, without limitation, its customary fees charged to clients who pay Atkinson monthly, as
16 those fees are adjusted from time to time, the experience and reputation of counsel, the time
17 expended, the results achieved, the novelty and difficulty of the tasks undertaken (including
18 applicable time limitations) and the preclusion from other employment caused by its work in this
19 bankruptcy case.
20             The attorneys at Atkinson who will be principally responsible for performing the legal
21 services on behalf of the Debtor are Damian J. Martinez, Michael C. Mauceri, and Ivy Gao.
22 However, Atkinson has several additional attorneys. Depending upon the complexity and amount
23 of legal services required in this case, other attorneys at Atkinson may be called upon to provide
24 legal services.
25             As mentioned above, the Principal will be the source of the Retainer. The source of future
26 payments to the Firm after the Retainer has been exhausted will be the Debtor’s estate.
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28   1685041.1 27086                                    3
Case 2:21-bk-16674-ER                  Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34        Desc
                                        Main Document    Page 4 of 29



 1 D.          Name, address and telephone number of person who will provide a copy of the Application
 2             A copy of the Application is appended hereto. Requests for copies may be made via email

 3 to Debtor’s proposed counsel, Attn.: Zev Shechtman at Danning, Gill, Israel & Krasnoff, LLP, at
 4 Email: ZS@DanningGill.com. The address for Debtor’s proposed special litigation counsel is
 5 Atkinson, Andelson, Loya, Ruud & Romo, Attn: Damian J. Martinez, 201 South Lake Avenue,
 6 Suite 300, Pasadena, California 91101, and the telephone number is (626) 583-8600 .
 7
 8                                                          II.
 9                                       DEBTOR IN POSSESSION FINANCING
10             The Debtor’s request to obtain unsecured credit is based on the grounds that the Debtor

11 does not possess sufficient funds and cash flow to retain Atkinson as its special litigation counsel.
12 The Principal is loaning the Debtor $80,000, without interest, for the purposes of retaining Atkinson
13 (the “Loan”). Accordingly, the Debtor seeks authority from the Court to accept the Loan on the
14 following terms:
                 Material Term or                      Summary of           Location in Loan
15               Type of Provision                     Provision(s)         Agreement and/or
                                                                            Loan Documents
16
                       Loan amount               $80,000                          N/A
17
                       Interest rate             0%                               N/A
18
                       Maturity date             Treated with the same            N/A
19                                               priority as a chapter 11
                                                 administrative expense,
20                                               but subordinated to all
                                                 other allowed chapter
21                                               11 administrative
                                                 expenses.
22
                       Events of default         N/A                              N/A
23
                       Prepayment penalty        N/A                              N/A
24
                       Loan fees                 N/A                              N/A
25
26                     Grant of lien on          N/A                              N/A
                       property of the estate
27                     under § 364(c) or (d)

28   1685041.1 27086                                        4
Case 2:21-bk-16674-ER              Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34        Desc
                                    Main Document    Page 5 of 29


                        Material Term or              Summary of       Location in Loan
 1                      Type of Provision             Provision(s)     Agreement and/or
                                                                       Loan Documents
 2
                       Provision of adequate    N/A                           N/A
 3                     protection or priority
                       of a claim that arose
 4                     prepetition
 5                     Validity of a claim or   N/A                           N/A
                       lien that arose
 6                     prepetition
 7                     Waiver or                N/A                           N/A
                       modification of Code
 8                     provisions or
                       applicable rules
 9                     relating to the
                       automatic stay
10
                       Release, waiver or       N/A                           N/A
11                     limitation on any
                       claim or other cause
12                     of action belonging to
                       the estate
13
14
15             In accordance with Local Bankruptcy Rule 4001-2, a separate Statement Regarding Cash
16 Collateral or Debtor in Possession Financing is being filed concurrently herewith.
17             This motion is based upon this notice of motion and motion, the Memorandum of Points
18 and Authorities and Declaration of Zhao Pu Yang appended hereto, the Statement Regarding Cash
19 Collateral or Debtor in Possession Financing filed pursuant to Local Bankruptcy Rule 4001-2(a),
20 and such other evidence as may be presented to the Court.
21             PLEASE TAKE FURTHER NOTICE that, pursuant to Local Bankruptcy Rule 9013-1(f),
22 any opposition or response to the Motion must be filed and served at least 14 days before the date
23 of the hearing on the Motion. Pursuant to Local Bankruptcy Rule 9013-1(h), the Court may treat
24 failure to timely file documents as consent to the relief requested in the Motion.
25
26
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28   1685041.1 27086                                       5
Case 2:21-bk-16674-ER       Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34       Desc
                             Main Document    Page 6 of 29



     DATED: June 15, 2022                 DANNING, GILL, ISRAEL & KRASNOFF, LLP
 1

 2

 3                                        By:       /s/ Alphamorlai L. Kebeh
                                                ALPHAMORLAI L. KEBEH
 4                                              Attorneys for Jinzheng Group (USA) LLC
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28   1685041.1 27086                            6
Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                 Desc
                                 Main Document    Page 7 of 29



                            MEMORANDUM OF POINTS AND AUTHORITIES
 1
 2                                                       I.
 3                                          FACTUAL STATEMENT
 4 A.          Bankruptcy Background
 5             On August 24, 2021 (the “Petition Date”), Jinzheng Group (USA) LLC (“Applicant”, or, the
 6 “Debtor”), filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The
 7 Debtor continues in possession of its property and is operating and managing its business as a
 8 debtor in possession pursuant to the provisions of 11 U.S.C. §§ 1107(a) and 1108. No trustee or
 9 examiner has been appointed in the Debtor’s Chapter 11 Case.
10 B.          The Debtor’s Former Counsel
11             From the Petition Date until on or about December 6, 2021, the Debtor was represented by
12 the Law Offices of Donna Bullock. On or about December 6, 2021, the Debtor filed its Substitution
13 of Attorney (doc. no. 48), substituting original counsel with Shioda, Langley & Chang, LLP as its
14 new general bankruptcy counsel. On our about June 1, 2022, the Debtor filed an application to
15 employ Danning, Gill, Israel & Krasnoff, LLP (“Danning Gill”) as its general bankruptcy counsel,
16 effective as of May 31, 2022, and later filed a substitution of attorney for Danning Gill to represent
17 the Debtor as its general bankruptcy counsel in the main case. A hearing on the application to
18 employ Danning Gill as general counsel is set for July 6, 2022.
19 C.          Procedural Status
20             A continued hearing is currently set to be held on July 6, 2022 with respect to the
21 Committee’s motion to appoint a chapter 11 trustee. A continued hearing on the disclosure
22 statement and plan filed by the Debtor is also set for July 6, 2022. The Debtor believes that those
23 hearings will be vacated by stipulation.
24             Two state court lawsuits have been removed to this Bankruptcy Court, and are pending as
25 adversary proceedings, one against Testa et al., Adv No. 2:22-ap-01088-ER, and the other against
26 Betula Lenta, Inc. et al., Adv No. 2:22-ap-01090-ER. There is also a pending contested matter
27 pending with respect to the Debtor’s objection to the Betula Lenta, Inc. proof of claim. The Debtor
28   1685041.1 27086                                     7
Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34               Desc
                                 Main Document    Page 8 of 29



 1 has obtained orders for several Rule 2004 examinations of parties in this case (doc. nos. 60, 72, 73).
 2 Collectively, these matters will be referenced herein as the “Litigation Matters.”

 3
 4                                                      II.
 5                                  APPLICATION FOR EMPLOYMENT
 6 A.          The Proposed Retention of Special Litigation Counsel; Atkinson, Andelson, Loya,
 7             Ruud & Romo
 8             The Debtor requires special litigation counsel to advise and represent the Debtor with
 9 respect to the Litigation Matters. The Debtor has determined, in its business judgment, that it is
10 appropriate to retain Atkinson, Andelson, Loya, Ruud & Romo (“Atkinson” or “the Firm”) as

11 special litigation counsel for this purpose. Applicant believes that the employment of the Firms is
12 in the best interests of the estate and the creditors. Applicant is informed and believes that
13 Atkinson is experienced in litigation and can assist the Applicant in litigating and resolving the
14 Litigation Matters. The breadth of experience and length of service in the legal community
15 possessed by the primary attorneys for this matter is demonstrated in their biographies and the
16 resume of Damian J. Martinez, copies of which are attached as Exhibit “1” to the Statement of
17 Disinterestedness, filed with this motion and incorporated herein. Under such circumstances, the
18 Applicant believes that the employment of Atkinson is prudent. Atkinson is willing to represent
19 the Debtor and to accept employment upon the terms in this application, with such employment
20 subject to the approval of this Court.
21             Damian Martinez, Michael Mauceri, and Ivy Gao are well qualified to perform the requisite
22 legal services as special litigation counsel. They are familiar with the rules regarding civil
23 procedure and evidence. Among other significant litigation and trial experience that the attorneys
24 have, Damian Martinez was an Assistant United States Attorney in the Central District of
25 California prior to entering private practice. Other associates at Atkinson may also work on this
26 matter under the supervision of Mr. Martinez.
27
28   1685041.1 27086                                    8
Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                Desc
                                 Main Document    Page 9 of 29



 1 B.          Arrangements for Compensation
 2             Atkinson requires a retainer of $80,000 as an advance against fees and costs to be incurred

 3 by Atkinson in the course of its representation of the Debtor (the “Retainer”). The Retainer has or
 4 will be provided by Zhao Pu Yang, as legal representative of Jianqing Yang, the managing member
 5 of the Debtor (collectively, the “Principal”), subject to the Court’s approval of the relief requested
 6 in this motion. Atkinson will draw down on the Retainer in accordance with the Guide to
 7 Applications for Retainers, and Professionals and Insider Compensation (“Fee Guide”),
 8 promulgated by the Office of the United States Trustee, except that the Retainer will be maintained
 9 in Atkinson’s attorney-client trust account rather than a segregated trust account.
10             Atkinson will charge for its services at an hourly rate measured in increments of tenths of

11 an hour. It will also seek reimbursement of its expenses. The rates for the primary attorneys for
12 this matter will be as follows: $500/hour for Damian J. Martinez, $430/hour for Michael Mauceri,
13 and $365/hour for Ivy Gao. Atkinson’s rates may change from time to time in the future.
14             The Debtor proposes to compensate Atkinson on the following basis, except as the Court
15 may otherwise determine and direct, after appropriate notice and hearing: Atkinson will apply to
16 the Court under §§ 330 and 331 of the Bankruptcy Code for an allowance of fees and reimbursable
17 expenses not more often than every 120 days. All applications of Atkinson for compensation will
18 be heard upon notice to creditors and other parties-in-interest. Atkinson will accept such fees and
19 reimbursement for expenses as may be awarded by the Court. Atkinson expects that its
20 compensation will be based upon a combination of factors including, without limitation, its
21 customary fees charged to clients who pay Atkinson monthly, as those fees are adjusted from time
22 to time, the experience and reputation of counsel, the time expended, the results achieved, the
23 novelty and difficulty of the tasks undertaken (including applicable time limitations) and the
24 preclusion from other employment caused by its work in this bankruptcy case. The Principal will
25 be the source of the Retainer. The source of future payments to the Firm after the Retainer has
26 been exhausted will be the Debtor’s estate.
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28   1685041.1 27086                                     9
Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                Desc
                                Main Document     Page 10 of 29



 1 C.          Disinterestedness of Atkinson
 2             As of the date of this motion, to the best of the Debtor’s knowledge and after consideration

 3 of the disclosures in the attached Statement of Disinterestedness, Debtor believes that the Firm and
 4 all of its partners and associates are disinterested persons as that term is defined in 11 U.S.C.
 5 § 101(14), and neither the Firm nor any partners or associates of the Firm are connected with the
 6 Debtor, its creditors, any other party in interest, its attorneys and accountants, or to this estate, and
 7 has no relation to any bankruptcy judge presiding in this district, the Clerk of the Court or any
 8 relation to the United States Trustee in this district, or any person employed at the Court or the
 9 Office of the United States Trustee, nor does the Firm or its attorneys represent or hold an adverse
10 interest with respect to the Debtor, any creditor, or to this estate.

11             There will be no written employment agreement between the Debtor and Atkinson, apart
12 from this motion and the order entered upon this motion. If the Court does not approve the Firm’s
13 employment as requested in this motion, the Firm will not be obligated to provide services to the
14 Debtor. The only source of payment of compensation for Atkinson will be from the Retainer and
15 from the estate, as may be approved and ordered paid by the Court after notice and hearing.
16
17                                                      III.
18                                 DEBTOR-IN-POSSESSION FINANCING
19 A.          The Principal’s Loan
20             The Principal has loaned the Debtor $80,000, without interest, for the purposes of retaining
21 Atkinson (the “Loan”). The Loan is meant to constitute the Retainer, as defined in this motion.
22 Under the terms of the Loan, the Principal has caused to be transferred $80,000 to the Firm’s
23 attorney-client trust account to be held in trust until the Court approves the employment of the Firm.
24 If the Court does not approve of the Firm’s employment, the Firm will return the Retainer to the
25 Principal.
26             The funds comprising the Loan shall be an unsecured loan from the Principal to the Debtor
27 with zero interest, and shall be treated with the same priority as a chapter 11 expense of
28   1685041.1 27086                                    10
Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34              Desc
                                Main Document     Page 11 of 29



 1 administration, except that it shall be subordinated to all other allowed chapter 11 expenses of
 2 administration in the Debtor’s case. The Loan does not have any other terms or conditions.

 3 B.          The Debtor Should be Authorized to Obtain Unsecured Credit from the Principal
 4             Pursuant to § 364
 5             Section 364 of the Bankruptcy Code gives bankruptcy courts the power to authorize
 6 postpetition financing for chapter 11 debtors in possession. See In re Defender Drug Stores, Inc.,
 7 126 B.R. 76, 81 (Bankr. D. Ariz. 1991), aff’d, 145 B.R. 312 (9th Cir. BAP 1992). If not in the
 8 ordinary court of business, the court may authorize a debtor to obtain unsecured credit allowable as
 9 an administrative expense. In re Regensteiner Printing Co., 122 B.R. 323, 326 (Bankr. N.D. Ill.
10 1990). Allowable administrative expenses include the “actual, necessary costs and expenses of

11 preserving the estate”. Id.; 11 U.S.C. § 503(b)(1)(A).
12             Here, the Principal has provided the Debtor with an interest-free, unsecured loan. The Loan
13 will satisfy the Firm’s Retainer requirement, allowing the Firm to guide the Debtor through the
14 Litigation Matters. The terms of the Loan are ideal from the Debtor’s perspective. Among other
15 things, the Loan is better than any unsecured commercial loan available in the market, which would
16 require payment of interest and possibly other terms and conditions which would impact the Debtor.
17 None of those are present here. The Loan will enable the Debtor to feasibly retain Atkinson, a
18 qualified law firm, to guide this case through the Litigation Matters. Further, the terms of the Loan
19 are such that it would not prejudice other holders of administrative expense claims or senior
20 creditors. Bankruptcy courts consistently defer to a debtor's business judgment on most business
21 decisions, including the decision to borrow money, unless such decision is arbitrary and capricious.
22 See In re Trans World Airlines, Inc., 163 B.R. 964, 974 (Bankr. D. Del. 1994) (noting that an interim
23 loan, receivables facility and asset-based facility were approved because they "reflect[ed] sound
24 and prudent business judgment... [were] reasonable under the circumstances and in the best
25 interests [of the Debtors] and its creditors"). One court has noted that "[m]ore exacting scrutiny [of
26 a debtors' business decisions] would slow the administration of the Debtors' estate and increase its
27 cost, interfere with the Bankruptcy Code's provision for private control of administration of the
28   1685041.1 27086                                   11
Case 2:21-bk-16674-ER   Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34   Desc
                        Main Document     Page 12 of 29
Case 2:21-bk-16674-ER          Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                 Desc
                               Main Document     Page 13 of 29


                   STATEMENT OF DISINTERESTEDNESS FOR EMPLOYMENT
 1                     OF PROFESSIONAL PERSON UNDER F.R.B.P. 2014
 2

 3          1.        Name, address and telephone number of the professional (“the Professional”)
 4 submitting this Statement:
          Atkinson, Andelson, Loya, Ruud & Romo
 5        201 South Lake Avenue, Suite 300
          Pasadena, California 91101
 6        T: (626) 583-8600
          F: (626) 583-8610
 7
 8                           Attached hereto as Exhibit “1” and incorporated by reference herein, are bios
 9 for the Atkinson attorneys who will be working on this case, in addition to the resume for
10 Atkinson’s lead attorney, Damian J. Martinez.

11
            2.        The services to be rendered by the Professional in this case are (specify): See page 5
12
     of the motion.
13
            3.        The terms and source of the proposed compensation and reimbursement of the
14
     Professional are (specify): See page 3, lines 1 through 25 of the notice and page 8, lines 7 through
15
     19 in the within motion. The rates for the primary attorneys for this matter will be as follows:
16
     $500/hour for Damian J. Martinez, $430/hour for Michael Mauceri, and $365/hour for Ivy Gao.
17
            4.        The nature and terms of retainer (i.e., nonrefundable versus an advance against fees)
18
     held by the Professional are (specify): Atkinson has or will received $80,000 as a retainer paid by
19
     the Debtor’s principal. Atkinson will draw down on the retainer in accordance with the Guide to
20
     Applications for Retainers, and Professionals and Insider Compensation (“Fee Guide”),
21
     promulgated by the Office of the United States Trustee, except that the retainer will be maintained
22
     in the Firm’s attorney-client trust account rather than a segregated trust account. Atkinson will
23
     submit a monthly Professional Fee Statement each month until the retainer is exhausted.
24
            5.        The investigation of disinterestedness made by the Professional prior to submitting
25
     this Statement consisted of (specify): Conflicts check
26
            6.        The following is a complete description of all of the Professional’s connections with
27
     the chapter 11 trustee, the debtor, principals of the Debtor, insiders, the Debtor’s creditors, any
28   1685041.1 27086                                     13
Case 2:21-bk-16674-ER            Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                 Desc
                                 Main Document     Page 14 of 29



 1 other party or parties in interest, and their respective attorneys and accountants, or any person

 2 employed in the Office of the United States Trustee (specify, attaching extra pages as necessary):

 3 None

 4            7.       The Professional is not a creditor, an equity security holder or an insider of the

 5 debtor, except as follows (specify, attaching extra pages as necessary): None

 6            8.       The Professional is not and was not an investment banker for any outstanding

 7 security of the Debtor.

 8            9.       The Professional has not been within three (3) years before the date of the filing of

 9 the petition herein, an investment banker for a security of the Debtor, or an attorney for such an

10 investment banker in connection with the offer, sale or issuance of any security of the Debtor.

11            10.      The Professional is not and was not, within two (2) years before the date of the

12 filing of the petition herein, a director, officer or employee of the Debtor or of any investment

13 banker for any security of the Debtor.

14            11.      The Professional neither holds nor represents any interest materially adverse to the

15 interest of the estate or of any class of creditors or equity security holders, by reason of any direct

16 or indirect relationship to, connection with, or interest in, the Debtor or any investment banker for

17 any security of the Debtor, or for any other reason, except as follows (specify, attaching extra pages

18 as necessary): None

19            12.      Name, address and telephone number of the person signing this Statement on behalf

20 of the Professional and the relationship of such person to the Professional (specify):

21            Damian J. Martinez
              Atkinson, Andelson, Loya, Ruud & Romo
22            201 South Lake Avenue, Suite 300
              Pasadena, California 91101
23            T: (626) 583-8600
              F: (626) 583-8610
24

25            13.      The Professional is not a relative or employee of the United States Trustee or a

26 Bankruptcy Judge, except as follows (specify, attaching extra pages as necessary): None

27            14.      Total number of attached pages of supporting documentation: 8

28
     1685041.1 27086


                                                      14
Case 2:21-bk-16674-ER   Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34   Desc
                        Main Document     Page 15 of 29




                                       15
Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                 Desc
                                Main Document     Page 16 of 29


                                    DECLARATION OF ZHAO PU YANG
 1
 2             1.      I am the Attorney in Fact for Jianqing Yang, Managing Member of Jinzheng Group

 3 (USA) LLC. I am also the son of Jianqing Yang.
 4             2.      Unless stated otherwise, all facts in this declaration are based upon my personal
 5 knowledge, my discussions with Debtor’s former management, Debtor’s counsel or my personal
 6 advisors or counsel, my review of documents and information concerning the Debtor’s business,
 7 and/or my personal opinion based upon my experience and general knowledge about the Debtor.
 8             3.      I am over the age of 18 and am authorized to submit this declaration on behalf of the
 9 Debtor. If called to testify, I would testify to the matters set forth in this declaration.
10             4.      I submit my declaration in support of the Debtor’s (1) Application of Debtor and

11 Debtor-In-Possession to Employ Atkinson, Andelson, Loya, Ruud & Romo as Special Litigation
12 Counsel; (2) Motion To Approve Debtor-In-Possession Financing; and Statement of
13 Disinterestedness (the “Motion”).
14             5.      I have agreed to loan the Debtor $80,000, without interest, for the purposes of
15 retaining Atkinson, Andelson, Loya, Ruud & Romo (“Atkinson”) as its special litigation counsel
16 (the “Loan”). I have agreed that the Loan is interest-free and will be treated with the same priority
17 as a chapter 11 expense of administration, except that it will be subordinated to all other allowed
18 chapter 11 expenses of administration.
19             6.      Based on my business judgment, I believe that the Loan is appropriate under the
20 circumstances. I do not believe that any commercial loan is available to the Debtor on better terms
21 than no interest and no collateral, and with subordination to other allowed expenses of
22 administration.
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28   1685041.1 27086                                     16
Case 2:21-bk-16674-ER   Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34   Desc
                        Main Document     Page 17 of 29
Case 2:21-bk-16674-ER   Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34   Desc
                        Main Document     Page 18 of 29




                               EXHIBIT 1
    Case 2:21-bk-16674-ER          Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                       Desc
                                   Main Document     Page 19 of 29




Damian J. Martinez
Partner
626-583-8600
Damian.Martinez@aalrr.com




Damian Martinez is an experienced litigator who has represented               OFFICE
clients – ranging from large multi-national corporations to individual
                                                                              201 S. Lake Ave
entrepreneurs. Mr. Martinez frequently represents corporate clients in
                                                                              Suite 300
complex litigation proceedings and internal investigations. He also
                                                                              Pasadena, CA 91101
regularly represents individuals subject to criminal investigation by the
U.S. Department of Justice and the Los Angeles County District Attorney.      INDUSTRIES
                                                                              Construction
Mr. Martinez served as a federal prosecutor in Los Angeles from 2001 to
2006, where he tried multiple cases to verdict, handled appeals before        Entertainment & Media

the Ninth Circuit Court of Appeals, and conducted grand jury                  Financial Services
investigations. Prior to serving as a prosecutor, Mr. Martinez clerked for    Hospitality
U.S. District Judge Carlos R. Moreno (Ret.) of the Central District of        International Shipping, Logistics &
California.                                                                   Distribution
                                                                              Life Sciences & Health Care

Honors & Recognitions                                                         Technology

●   Super Lawyers                                                             EDUCATION
●   AV® Peer Rating from Martindale-Hubbell                                   J.D., Columbia University School of
                                                                              Law (Harlan Fiske Stone Scholar)
                                                                              B.A., University of California at Los
Representative Matters                                                        Angeles (Department Honors and
                                                                              Dean’s List)
Complex Litigation
                                                                              ADMISSIONS
●   Represented a multinational corporation in a wrongful death trial.        1999, California
    Following 12-days of trial, the jury returned a unanimous defense
    verdict in favor of Mr. Martinez’s client. That verdict was ranked by     PRACTICE AREAS
    Courtroom View Network as the third most impressive verdict of 2017.      Administrative Hearings &
                                                                              Arbitrations
●   Served as lead attorney for a Fortune 100 company in a malpractice
    claim against a national law firm. The matter settled precomplaint        Alternative Dispute Resolution




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                                                                  EXHIBIT 1                                           18
         Case 2:21-bk-16674-ER          Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                   Desc
                                        Main Document     Page 20 of 29




     Damian J. Martinez


         on favorable terms.                                                      Business & Commercial Litigation
                                                                                  Class Action Defense
     ●   Represented the founders of a biotech startup in a “founder dispute”
         that successfully resolved before commencement of litigation.            Real Estate Litigation
                                                                                  Trials
     ●   Represented a green energy startup in a JAMS arbitration that
         successfully resolved on terms favorable to the company.
                                                                                  LANGUAGES
     ●   Represented a Los Angeles entrepreneur in a contract dispute.            Spanish
         Successfully vacated a default judgment against his client and then
         filed counterclaims. After discovery closed, the case settled on
         favorable terms, with money being paid to the client.

     Internal Investigations

     ●   Conducted an internal investigation on behalf of a public company.
         During the investigation, interviewed over 15 witnesses in Spanish
         and reviewed Spanish-language communications. At the conclusion
         of the investigation, published findings to the senior officers of the
         company.
     ●   Served as lead attorney for a high-tech startup in an internal
         investigation. At the conclusion of the investigation, made
         recommendations to the senior officers of the company on means
         to improve corporate policy.

     Government Investigations

     ●   Represented the senior most officer of a capacitor manufacturer in
         a price fixing investigation by the U.S. Department of Justice.
     ●   Represented the general counsel of a telecom company in a qui
         tam action prosecuted civilly by the Manhattan U.S. Attorney’s Office.
     ●   Represented a public employee in a District Attorney investigation
         into grade inflation in public schools.


     Firm News
     Five AALRR Attorneys Named 2021 Southern California Super Lawyers
     02.02.2021




p2

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                                                                                                                     19
      Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                    Desc
                                      Main Document     Page 21 of 29




     Damian J. Martinez


     Blog Posts
     Recent Amendment to California’s Homestead Exemption May Make Recovery On Personal Monetary
     Judgments More Difficult
     Business Law Journal, 04.02.2021


     Community & Professional
     Mr. Martinez is a native of Los Angeles County and he is an active member of his community. He has served
     as a board member and board president of the Los Angeles Center for Law and Justice, an organization
     dedicated to providing legal representation to victims of domestic violence at no charge. He also serves as
     a member of the MALDEF scholarship committee.




p3

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Case 2:21-bk-16674-ER          Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                     Desc
                               Main Document     Page 22 of 29


                                                   CV

                                           Damian J. Martinez

I graduated from Columbia University School of Law with honors in 1998. After graduating, I became a
member of the bar in January 1999 and I worked for two years at Irell & Manella LLP including on white
collar matters. From 2000-2001, I served as a law clerk to U.S. District Judge Carlos R. Moreno (ret.) in
the Central District of California.

From 2001 to 2006, I served as an Assistant U.S. Attorney criminal division in the Central District of
California. As a prosecutor, I conducted investigations before the grand jury, handled wiretap
investigations, tried multiple cases to verdict, and handled appeals before the Ninth Circuit Court of
Appeals. Since leaving the U.S. Attorney’s Office, I have handled white collar matters, internal
investigations, as well as complex civil cases. The following is a summary of pertinent experience while
in private practice. Among my experiences, are four cases in which I represented clients in bankruptcy-
related matters.

White collar matters:

       Represented general counsel of public and private companies in internal investigations,
        investigations by the Department of Justice, and in shareholder litigations. Mr. Martinez
        represented a general counsel in a false claims act case brought by the Manhattan U.S.
        Attorney’s Office. Previously, Mr. Martinez represented a general counsel of a public
        homebuilder in a criminal case brought against the company’s CEO for alleged stock options
        manipulation.

       Represented high-level corporate executives in investigations by the Department of Justice
        antitrust division. Mr. Martinez represented the senior most executive of a manufacturer in a
        DOJ antitrust investigation and parallel civil action.

       Bankruptcy related: Represented the senior most officer of a public mortgage originator in
        litigation brought by the Securities and Exchange Commission. Also represented the officer in
        an investigation by the bankruptcy examiner and the U.S. Attorney’s Office.

       Represented two officers of a national construction company subject of a public corruption
        investigation involving a large construction project at the U.S. border. At the conclusion of an
        extensive investigation, no charges were brought against the two clients.

       Represented witnesses in an unfair competition action brought by the District Attorney’s Office
        against a high-tech ride sharing company.

       Represented a key witness – who was originally named as a subject – in a major public
        corruption case against a Los Angeles area politician.




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                                                                                                           21
Case 2:21-bk-16674-ER         Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                     Desc
                              Main Document     Page 23 of 29


Complex Civil Cases:

      Bankruptcy related: Lead attorney for a public electric vehicle company in a commercial lease
       dispute that involved parallel bankruptcy litigation against the public company’s founder. After
       extensive litigation in both bankruptcy and state courts, the action against the public company
       and its founder settled favorably through a bankruptcy court mediation.

      Bankruptcy-related: Lead attorney representing the senior most officer of a lending division of
       a financial institution in federal action brought by the FDIC and by the bankruptcy trustee.

      Bankruptcy-related: Lead attorney representing the founder of a well-known nonprofit in a
       breach of fiduciary duty case brought by the bankruptcy trustee. Matter settled favorably.

      Lead attorney in a mass tort litigation against an international food producer in connection with
       the largest Hepatitis A outbreak in the western U.S. Part of the case proceeded to trial and Mr.
       Martinez was lead attorney for the food producer. The case resulted in a defense verdict for
       Mr. Martinez’s client.




                                                   2


                                                                                                           22
 Case 2:21-bk-16674-ER              Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                       Desc
                                    Main Document     Page 24 of 29




Michael C. Mauceri
Associate
626-583-8600
michael.mauceri@aalrr.com




Michael Mauceri represents uniquely situated Fortune 500,                      OFFICE
international, and national companies in all aspects of complex
                                                                               201 S. Lake Ave
commercial and class action litigation. He has extensive experience
                                                                               Suite 300
navigating procedural and regulatory frameworks to best position
                                                                               Pasadena, CA 91101
clients with businesses in a variety of industries, including financial and
insurance services, entertainment, technology, manufacturing and               INDUSTRIES
retail. Leveraging this experience, Mr. Mauceri consistently obtains
                                                                               Entertainment & Media
favorable results for his clients, including in actions involving securities
                                                                               Financial Services
violations and enforcement, fraud and contract disputes, regulatory
class actions, labor and employment, D&O liability, as well as product         Manufacturing

design and warning defect.                                                     Technology


Mr. Mauceri graduated from the University of North Carolina at Chapel          EDUCATION
Hill with a Bachelor of Arts in Political Science and Global Studies, and      J.D., Emory University School of
he earned his Juris Doctor at Emory University School of Law. While in         Law
                                                                               B.A., University of North Carolina at
law school, Mr. Mauceri was a member of the Emory Law Moot Court               Chapel Hill
Society and interned for two of the largest district attorney’s offices in
the country — Brooklyn and Atlanta.                                            ADMISSIONS
                                                                               2016, California
During his studies at the University of North Carolina, he worked with the
United Nations in Geneva, Switzerland, in the Office of the Director-
                                                                               PRACTICE AREAS
General, where he drafted briefs and speeches and represented the
                                                                               Business & Commercial Litigation
Office at UN General Assembly and World Trade Organization meetings,
as well as at the 2011 UN Economic and Social Council.                         Class Action Defense
                                                                               Investigations, Regulatory
                                                                               Enforcement and White Collar
                                                                               Defense
                                                                               Labor & Employment Law
                                                                               Litigation




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                                                                                                                       23
    Case 2:21-bk-16674-ER          Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                        Desc
                                   Main Document     Page 25 of 29




Runmin (Ivy) Gao
Senior Associate
626-583-8600
Ivy.Gao@aalrr.com




Runmin (Ivy) Gao is a tenacious litigator who specializes in all types of   OFFICE
complex commercial and business matters involving contract
                                                                            201 S. Lake Ave
disputes, fraud, investment issues, corporate governance disputes, and
                                                                            Suite 300
the protection of trade secrets. She has obtained successful results for
                                                                            Pasadena, CA 91101
her clients in numerous court proceedings, mediations, arbitrations
and trials. Using her experience in commercial litigation and her unique    INDUSTRIES
background as a native of China, and having studied PRC law in China,
                                                                            Entertainment & Media
Ms. Gao provides advice to business entities especially on cross-border
                                                                            Financial Services
transactions and international contract negotiations. Ms. Gao began
her legal career in Beijing, China, where she represented multinational     Technology

financial institutions and corporations in transactional investment
                                                                            EDUCATION
banking and finance matters.
                                                                            J.D., Washington University in St.
                                                                            Louis School of Law
During law school, Ms. Gao received the CALI Excellence for the Future
Award for achieving the highest grade in Property Law. She served as        LL.M., Washington University in St.
                                                                            Louis School of Law
an extern for Emerson Electric Co. at its global headquarters, assisting
with international compliance issues and Chinese regulations. In her        LL.B., China University of Political
                                                                            Science and Law
spare time, Ms. Gao enjoys writing Chinese calligraphy, playing the
piano, and reading.                                                         Exchange Student, University of
                                                                            Oxford, Oriel College
                                                                            M.B.A., Westcliff University
Honors & Recognitions
                                                                            ADMISSIONS
●   CALI Excellence for the Future Award, Property Law
                                                                            2016, California
●   Distinguished Exchange Student, University of Oxford, Oriel College
                                                                            U.S. District Courts, Central,
                                                                            Northern Districts of California
                                                                            U.S. District Court, District of
                                                                            Colorado




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                                                                                                                   24
         Case 2:21-bk-16674-ER           Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                    Desc
                                         Main Document     Page 26 of 29




     Runmin (Ivy) Gao


     Representative Matters                                                          PRACTICE AREAS
                                                                                     Business & Commercial Litigation
     Newstart Real Estate Inv. LLC v. Huang, 37 Cal. App. 5th 159 (Ct. App. 2019).
                                                                                     Corporate, Finance &
                                                                                     Transactions
     Blog Posts                                                                      Real Property

     Recent Amendment to California’s Homestead Exemption May Make                   LANGUAGES
     Recovery On Personal Monetary Judgments More Difficult
                                                                                     Mandarin
     Business Law Journal, 04.02.2021


     Community & Professional
     ●   Volunteer, Southern California Chinese Lawyer Association Pro Bono
         Clinic
     ●   Volunteer, Christian Legal Aid of Los Angeles Pro Bono Clinic




p2

                                                                                                            www.aalrr.com

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      Case 2:21-bk-16674-ER                   Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                                       Desc
                                              Main Document     Page 27 of 29
                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF APPLICATION AND
APPLICATION TO EMPLOY ATKINSON, ANDELSON, LOYA, RUUD & ROMO AS SPECIAL LITIGATION COUNSEL;
MOTION TO APPROVE DEBTOR-IN-POSSESSION FINANCING; AND STATEMENT OF
DISINTERESTEDNESS will be served or was served (a) on the judge in chambers in the form and manner required
by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
June 15, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On June 15, 2022 , I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  June 15, 2022                           Beverly Lew                                           /s/ Beverly Lew
  Date                                    Printed Name                                          Signature




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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
      Case 2:21-bk-16674-ER                   Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                                       Desc
                                              Main Document     Page 28 of 29
                                             ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
Donna C Bullock on behalf of Interested Party Donna Bullock Carrera
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schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.cincompass.com;chang
sr75251@notify.bestcase.com

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mike@cheklaw.com, chekianmr84018@notify.bestcase.com

Michael F Chekian on behalf of Interested Party Chekian Law Office, Inc.
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Heidi M Cheng on behalf of Plaintiff JINZHENG GROUP (USA) LLC
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oestrada@ttc.lacounty.gov

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Giovanni Orantes on behalf of Other Professional Orantes Law Firm, P.C.
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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
      Case 2:21-bk-16674-ER                   Doc 248 Filed 06/15/22 Entered 06/15/22 18:45:34                                       Desc
                                              Main Document     Page 29 of 29
Donald W Reid on behalf of Interested Party INTERESTED PARTY
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Matthew D. Resnik on behalf of Attorney Matthew Resnik
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roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfirm.com;pardis@rhmfir
m.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com

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m.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com

Matthew D. Resnik on behalf of Interested Party Courtesy NEF
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m.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com

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Peter J Ryan on behalf of Defendant Thomas L. Testa                  ryan@floresryan.com, schneider@floresryan.com

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Allan D Sarver on behalf of Interested Party Courtesy NEF                       ADS@asarverlaw.com

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David Samuel Shevitz on behalf of Interested Party INTERESTED PARTY
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United States Trustee (LA)            ustpregion16.la.ecf@usdoj.gov

Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)                hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov

2. SERVED BY U.S. MAIL
JINZHENG GROUP (USA) LLC                       The Honorable Ernest M. Robles
1414 S Azusa Ave, Suite B-22                   U.S. Bankruptcy Court
West Covina, CA 91791-4084                     255 E. Temple Street, Suite 1560
                                               Los Angeles, CA 90012


                          COMMITTEE OF CREDITORS HOLDING UNSECURED CLAIMS

  Bentula Lenta, Inc.                            The Phalanx Group, Inc.                           Testa Capital Group
  David Park                                     Anthony Rodriguez                                 620 Newport Center Dr., #1100
  800 W. 6th Street, Suite 1250                  424 E. 15th Street, Unit #10                      Newport Beach, CA 92660
  Los Angeles, CA 900171                         Los Angeles, CA 90015




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
